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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

United States of America, )
Plaintiff, Case No: 16 CR 466
v. Magistrate Judge: M. David Weisman
George S. Cottrell, ;
Defendant,
ORDER

Initial appearance held. Defendant George S. Cottrell appeared in response to arrest on
7/22/16. Defendant advised of his rights under Fed. R. Crim. P. 5 and 20. The government has not
agreed to proceed in this district with charges, and therefore, the defendant will answer the charges
in the District of Arizona. Defendant advised of his right to an identity hearing, and has waived an
identity hearing. Defendant advised of his right to have the United Kingdom consulate notified of
his arrest (Fed. R. Crim. P. 5(d)(1)(F)). The government advises that the consulate was notified the
morning of July 23, 2016. The government oral motion to unseal the pending indictment from the
District of Arizona is denied. Because the indictment is sealed in another district, this Court has no
authority to unseal it. Detention hearing set for 3:30 p.m. on July 25, 2016 before this Court.
Jeffrey Meyer of the Federal Defender's Office appointed to represent defendant for proceedings
before this Court on July 23, 2016, and if defendant seeks continued representation by the Federal
Defender's Office, counsel will present a financial affidavit for the Court's consideration. Defendant
shall remain in federal custody pending the detention hearing or until further order of the Court.

M. David Weisman
United States Magistrate Judge

Date: July 23. 2016

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